                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR04-0098-LRR
 vs.
                                                       PRELIMINARY ORDER
 FILIPE LAMAR WESTMORELAND,
               Defendant.

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       This matter comes before the court on its own motion. In relevant part, 18 U.S.C.
§ 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.                See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is

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applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The
Sentencing Commission also promulgated amendments to USSG §1B1.10, which set forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c). Consequently, under
18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court may rely on Amendment 706 to
reduce the defendant’s sentence.
       For the instant matter, the court does not intend to appoint counsel. See United
States v. Legree, 205 F.3d 724, 729-30 (4th Cir. 2000) (concluding that there is no right
to assistance of counsel when pursing relief under 18 U.S.C. § 3582(c)); United States v.
Tidwell, 178 F.3d 946, 949 (7th Cir. 1999) (same); United States v. Townsend, 98 F.3d
510, 512-13 (9th Cir. 1996) (same); United States v. Whitebird, 55 F.3d 1007, 1010-11
(5th Cir. 1995) (same); United States v. Reddick, 52 F.3d 462, 464 (2d Cir. 1995) (same).
Further, the court does not intend to conduct a hearing prior to granting a reduction based
on Amendment 706. See Legree, 205 F.3d at 729-30 (finding that a judge need not hold

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a hearing on a motion pursuant to 18 U.S.C. § 3582(c)); Restrepo-Contreras v. United
States, No. 96-1411, 1996 WL 636560, *2, 1996 U.S. App. LEXIS 28844, at *5 (1st Cir.
Nov. 4, 1996) (same); Townsend, 98 F.3d at 513 (concluding district court did not abuse
its discretion when it did not hold an evidentiary hearing); United States v. Dimeo, 28 F.3d
240, 241 n.3 (1st Cir. 1994) (noting that the district court received no input from the
parties and conducted no hearing before reducing the defendant’s sentence under 18
U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s presence
is not required in a proceeding that involves the correction or reduction of a sentence under
18 U.S.C. § 3582(c)). Additionally, the court concludes that United States v. Booker, 543
U.S. 220 (2005), does not apply to proceedings under 18 U.S.C. § 3582(c)(2).
       At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction
under 18 U.S.C. § 3582(c)(2) and calculates the defendant’s amended guideline range.
The United States Probation Office also provided the court with additional documents in
support of its memorandum. Those documents include, but are not limited to, the
defendant’s pre-sentence investigation report and the Bureau of Prison’s report on the
defendant.
       Pursuant to 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court concludes that
the defendant is entitled to a sentence reduction. See United States v. Wyatt, 115 F.3d
606, 608-09 (8th Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and
USSG §1B1.10). Previously, the court determined the defendant’s guideline range to be
from 63 to 78 months imprisonment, and the court sentenced the defendant to 63 months
imprisonment on count 1 of the indictment.1 The defendant’s amended guideline range is




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        Count 1 charged the defendant under 21 U.S.C. § 841(a)(1), 21 U.S.C. §
841(b)(1)(B), 21 U.S.C. § 843(b), 21 U.S.C. § 846 and 21 U.S.C. § 860(a).

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from 60 to 63 months imprisonment.2 Having reviewed the defendant’s file, the provisions
and commentary of USSG §1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the
nature and seriousness of the danger to any person or community that may be posed by a
reduction in the defendant’s term of imprisonment and the defendant’s post-sentencing
conduct, the court preliminarily deems it appropriate to exercise its discretion and grant
the defendant the maximum reduction permitted under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10. The maximum reduction results in a new term of 60 months imprisonment on
count 1 of the indictment.3 Apart from the committed portion of the defendant’s sentence,
all of the other previously imposed terms and conditions remain the same; the duration and
conditions of the defendant’s supervised release remain unchanged.
       The parties are hereby notified that they have 20 days from the date of this order
to file written objections to this proposed reduction to the defendant’s sentence. If either
party desires a hearing, the party must make a request in writing within 20 days from the
date of this order. The party requesting a hearing must outline the issue(s) that the party
believes should be addressed by the court. The defendant is further notified that he may
file a motion for appointment of counsel within 20 days from the date of this order. If the
defendant deems it appropriate to ask for counsel, the defendant should send his motion
for appointment of counsel to the following address:
              U.S. District Court for the Northern District of Iowa
              101 First Street SE
              Cedar Rapids, IA 52401


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         The defendant is subject to a five year mandatory minimum, and, therefore, the
defendant’s amended guideline range is 60 to 63 months imprisonment, rather than 51 to
63 months imprisonment. See USSG §5G1.1(c)(2) (“[T]he sentence may be imposed at
any point within the applicable guideline range, provided that the sentence— . . . is not
less than any statutorily required minimum sentence.”).
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        In the event that the court incorrectly determined that Booker, 543 U.S. at 220,
does not apply to proceedings under 18 U.S.C. § 3582(c)(2), the court notes that it would
impose the same term of imprisonment.

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The defendant’s motion for appointment of counsel should be accompanied with a financial
affidavit. The defendant should also utilize such address if he deems it appropriate to file
an objection regarding the court’s decision to reduce his sentence without a hearing.
       If no objection from either party is filed within the 20 day period established by the
court, an order will be filed that makes final the new term of imprisonment.
       The Clerk of Court is directed to send a copy of this order to the United States, the
defendant and the Federal Public Defender. The Clerk of Court is also directed to send
the defendant a CJA 23 form, that is, the financial affidavit form.


       IT IS SO ORDERED.
       DATED this 24th day of April, 2008.




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